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15
     POLICE CHIEF CATHY MADALONE; CITY
16   MANAGER BEN HARVEY
17                      UNITED STATES DISTRICT COURT
18                      NORTHERN DISTRICT – SAN JOSE
19
     MICHAEL GONZALEZ,                        Case No. 5:22-cv-01079-SVK
20           Plaintiff,
21       v.
     CITY OF PACIFIC GROVE,                   JOINT CASE STATUS UPDATE
22
     CALIFORNIA; POLICE CHIEF
23   CATHY MADALONE; CITY
24   MANAGER BEN HARVEY; DOES 1-              Judge:    Hon. Susan Van Keulen
     10,
25             Defendants.                    Complaint Filed: 02.22.2022
26                                            Trial Date:      Not set
27

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                                            1                 Case No.: 5:22-cv-01079-EJD
                                  JOINT STATUS REPORT
       Case 5:22-cv-01079-SVK Document 24 Filed 06/07/22 Page 2 of 2



1          The Parties, Plaintiff MICHAEL GONZALEZ (“Plaintiff”) and Defendants
2    CITY OF PACIFIC GROVE, CALIFORNIA, POLICE CHIEF CATHY
3    MADALONE, CITY MANAGER BEN HARVEY (“Defendants”) (collectively,
4    “Parties”), through their respective counsel of record, submit their Joint Status
5    Update.
6

7
           Defendants have filed their Answer, ECF Doc. No. 23, and the Parties have
     filed their Joint Rule 26 Report, ECF Doc. No. 16, and exchanged Initial Disclosures.
8
           The Parties are conferring regarding discovery scheduling, and anticipate
9
     being able to complete discovery during the Fall of 2022. The Parties believe that a
10
     trial date target in the first quarter of 2023 would be reasonable and efficient.
11
           The Parties have chosen mediation with the Magistrate Judge as their
12
     preferred mode of Alternative Dispute Resolution.
13
           The Parties have not identified any procedural or substantive idiosyncrasies
14
     in this case that would require special discussion or intervention at this point.
15

16
     Dated: June 7, 2022                     JACKSON LEWIS P.C.
17
                                             By: /s/ Michael Christian
18
                                             Michael J. Christian
19                                           Michael Y. Hsueh
                                             Attorneys for Defendants
20                                           CITY OF PACIFIC GROVE,
                                             CALIFORNIA; POLICE CHIEF CATHY
21                                           MADALONE; CITY MANAGER BEN
                                             HARVEY
22

23   Dated: June 7, 2022                     WERKSMAN JACKSON & QUINN, LLP

24

25                                           By: /s/ Caleb E. Mason___________

26                                                  Caleb E. Mason
                                                    Attorneys for Plaintiff
27                                                  MICHAEL GONZALEZ

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                                                 2                    Case No.: 5:22-cv-01079-EJD
                                       JOINT STATUS REPORT
